      Case 6:07-cr-10034-JWB        Document 134      Filed 09/28/16    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                      Plaintiff,


                      vs.                            Case No. 07-10034-01-JTM


 ACE A. ALDERSHOF,
                      Defendant.




                             MEMORANDUM AND ORDER


       This matter is before the court on defendant’s Motion to Reduce Sentence (Dkt. 133).

The court has reviewed the circumstances of the case, and finds that the motion should be

stayed pending the outcome of defendant’s pending Motion to Vacate under 28 U.S.C. 2255

(Dkt. 121).

       IT IS ACCORDINGLY ORDERED this 28th day of September, 2016, that the

defendant’s Motion to Reduce Sentence (Dkt. 133) is hereby stayed.



                                                ____s/ J. Thomas Marten_____
                                                J. THOMAS MARTEN, JUDGE
